Case 1:16-cv-00391-JJM-LDA Document 33 Filed 04/03/18 Page 1 of 2 PageID #: 151




                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF RHODEISLAND


  KIM E.MOITOZA,as Administratrix                )
  and oll bchalfOfan beneflciaries               )
  ofthe Estatc ofCharles H.E五  nakes            )
                          Plaintit              )
                                                 )
                  V.
                                                 )     C.A.No.16-cv-00391…        M‐   LDA
                                                 )
  UNITED STATES OF AMERICA,                     )
                 Defendant.                     )

                       STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to Rule a1(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,     PlaintiffKim E.

  Moitoza, as Administrahix and on behalf of all beneficiaries of the Estate of Charles H.

  Erinakes, and Defendant United States of America, by and through their respective undersigned

  counsel, hereby stipulate and agree that this action, and all claims by Plaintiff against Defendant,

  are voluntarily dismissed in their entirety, with prejudice, each party to bear its own fees, costs,

  and expenses.
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  Respectfu   lly submitted,

          KIM E. MOffOZA,          Administratrix
                                     as                     THE LttJITED STATES OF
           and on behalf of all beneficiaries of the        AMERICA
           Estate of Charles H. Erinakes


           By her attomey,                                  By lts attonley,
                                                            STEPHEN G.DAMBRUCH
                                                            United States Attomey




           Deluca   & Weizenbaum, Ltd.                      Assistant U.S. Attorney
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  S00RDERED:



                                                Dated:                   2018
  Hon.John J.McCOlllnellラ      Jr.

  U.S.District Court Judge
  Dist五 ct of Rhode lsland
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